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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  ------------------------------------x

   UNITED STATES OF AMERICA

                        -against-                        MEMORANDUM & ORDER
                                                           95-CR-766-1(EK)
   YICK MAN MUI,

                           Defendant.

  ------------------------------------x
 ERIC KOMITEE, United States District Judge:

             In 1996, a jury convicted Yick Man Mui of nine federal

 offenses including murder, kidnapping, and robbery; conspiracy

 to commit those offenses; and the use of a firearm during a

 crime of violence in violation of 18 U.S.C. § 924(c)(1).

 Judgment, ECF No. 82.       The Honorable Sterling Johnson, Jr.

 sentenced Mui to a term of life plus five years’ imprisonment.

 Id.   The Second Circuit affirmed.         United States v. Mui, 159

 F.3d 1349 (2d Cir. 1998) (unpublished table disposition).

             Now before the Court are two filings by Mui.              First,

 proceeding pro se, Mui asks me to “vacate” — that is, reconsider

 — my April 2024 order denying his motion for federal habeas

 relief pursuant to 28 U.S.C. § 2255.           In that motion, Mui

 challenged only one of the counts on which he was convicted: the

 Section 924(c) firearms conviction.          Second, Mui has filed a

 motion for compassionate release pursuant to 18 U.S.C. § 3582

 (also pro se).     As discussed below, both filings are successive:
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 Mui has previously sought (unsuccessfully) both Section 2255

 relief and compassionate release.

             I deny Mui’s request for reconsideration on his

 Section 2255 motion, for two reasons.          First, the request is

 properly understood as another new, successive petition rather

 than a request for reconsideration or vacatur.             Viewed as such,

 the new petition requires another grant of leave to file from

 the Second Circuit, which Mui has not obtained.             And second,

 even if I did consider the merits, the motion would still be

 denied.

             I deny Mui’s motion for compassionate release because

 the only facts he alleges that are both new and material are not

 cognizable under the rubric of compassionate release, and

 because the Section 3553(a) factors do not favor compassionate

 release.

                           Motion for Reconsideration

 A.    Selected Procedural History

             Mui filed his first Section 2255 motion in 1999,

 contending that his counsel was constitutionally ineffective for

 a variety of reasons.      These included counsel’s concession of

 Mui’s guilt during his opening statement, his failure to file

 certain pretrial motions, his failure to communicate effectively

 with Mui across a language barrier, and various failures to

 investigate defense witnesses and obtain exculpatory evidence
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 from the government.        See Mui v. United States, 614 F.3d 50, 51-

 52 (2d Cir. 2010).        Judge Johnson denied that motion and a

 motion for reconsideration.          See United States v. Mui, No. 95-

 CR-766, 2023 WL 1354785, at *1 (E.D.N.Y. Jan. 31, 2023).                 The

 Second Circuit affirmed in part, vacated in part, and remanded

 for consideration of certain claims that Mui had not raised on

 direct appeal.       Mui, 614 F.3d at 57.       Judge Johnson then

 referred the case to Magistrate Judge Ramon E. Reyes, who held a

 hearing.      See Mui v. United States, No. 99-CV-3627, 2013 WL

 6330661 (E.D.N.Y. Dec. 5, 2013).           At these proceedings, Mui

 himself testified.        Id. at *16-17.     Ultimately, Judge Johnson

 denied this motion (for the second time) in 2013.               Id. at *10.

 Upon this case being reassigned to me in 2022, I denied Mui’s

 motion for reconsideration of that denial.               See Mui, 2023 WL

 1354785, at *1-2.

               Mui then applied to the Second Circuit for leave to

 file a second 2255 motion.         Mui v. United States, No. 16-2117

 (2d Cir. June 23, 2016), ECF No. 2.           He sought leave to

 challenge only one conviction — his Section 924(c) conviction —

 that he argued was no longer valid after a change in law.                  Id.

 at 5. 1    Mui argued that several of the charged crimes

 underpinning this conviction were not categorically crimes of



       1   Page numbers in record citations refer to ECF pagination.
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 violence, and there was no way to determine which charge the

 jury relied upon as the predicate for the Section 924(c)

 conviction.    Id.

             The Second Circuit granted leave in 2020, construing

 Mui’s motion as relying on United States v. Davis, 588 U.S. 445

 (2019).    Mui v. United States, No. 16-2117 (2d Cir. Apr. 14,

 2020), ECF No. 39.      Mui then filed his second Section 2255

 motion.    ECF No. 114.    He subsequently filed (in this Court)

 several motions expressly or implicitly seeking to amend. 2

             I denied Mui’s petition under the concurrent sentence

 doctrine.    See United States v. Mui, No. 95-CR-766, 2024 WL

 1532293, at *4 (E.D.N.Y. Apr. 9, 2024) (“April 2024 Order”).

 Because Mui challenged his Section 924(c) conviction but not his

 concurrent life sentences for murder and kidnapping, I observed

 that vacatur of the Section 924(c) conviction would “not afford

 him any actual sentencing relief.”         Id. at *3. 3     I also denied

 leave to amend this second Section 2255 motion, as the proposed

 amendments were “unrelated to the limited purpose for which Mui

 was granted the opportunity to file [his] instant petition” by



       2 See Def.’s Mot. to Amend/Correct, Vacate, ECF No. 156; Def.’s Mot. to
 Vacate, ECF No. 159; Def.’s Mot. for New Trial, ECF No. 162; Def.’s Mot. for
 Order to Show Cause, ECF No. 167; Def.’s Mot. to Compel, ECF No. 169; Def.’s
 Mot. to Compel, ECF No. 172; Def.’s Mot. to Amend/Correct, ECF No. 173;
 Def.’s Mot. to Vacate, ECF No. 174; Def.’s Mot. to Dismiss, ECF No. 176;
 Def.’s Mot. for Relief, ECF No. 177.
       3 Unless otherwise noted, when quoting judicial decisions this order

 accepts all alterations and omits all citations, footnotes, and internal
 quotation marks.
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 the Second Circuit.      Id. at *5.    In December 2024, the Second

 Circuit denied Mui’s motion for a new certificate of

 appealability.     ECF No. 184.

             Mui now seeks to vacate my April 2024 Order, which I

 take to be a motion for reconsideration. See generally Mot. for

 Relief Pursuant to Fed. R. Civ. 60(b)(1) (“Reconsideration

 Mot.”), ECF No. 191.

 B.    Discussion

             Rule 60(b)(1) allows district courts to grant relief

 from judgment in cases of mistake.         Fed. R. Civ. Pro. 60(b)(1).

 Mui alleges that I incorrectly applied the concurrent sentence

 doctrine for two reasons.       First, he alleges that I failed to

 consider that one of his two concurrent life sentences — the

 murder sentence — violated the Ex Post Facto Clause in Article I

 of the U.S. Constitution.       Reconsideration Mot. 2.         Second, Mui

 alleges that I failed to consider that he was sentenced when the

 Sentencing Guidelines were mandatory, before the Supreme Court’s

 decision in United States v. Booker, 543 U.S. 220 (2005).

 Reconsideration Mot. 2.

       1.    Section 1959 and the Ex Post Facto Clause

             My prior order invoked the concurrent sentence

 doctrine to conclude that no resentencing is required here,

 notwithstanding the change in law that undermined Mui’s Section

 924(c) conviction.      That invocation pointed to two separate
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 concurrent sentences: the life sentences that Judge Johnson

 imposed on Count Eight (for kidnapping) and Count Ten (for

 murder).    Judgment 1-2.      Mui argues that it was improper to

 invoke the murder sentence to avoid resentencing, because at the

 time he committed that offense in 1993, the relevant statute did

 not require a mandatory life sentence.          Reconsideration Mot. 2.

 Despite this, he continues, Judge Johnson appeared to state that

 a life sentence was mandatory on this count.            Id.   Mui invokes

 the Ex Post Facto Clause of Article I, arguing that Judge

 Johnson applied a legal provision not in effect at the time he

 committed murder.      Id.

             In response, the government has conceded that Mui’s

 murder sentence violated the Ex Post Facto Clause.              Per the

 government, “it appears” that Mui’s attorney “mistakenly stated”

 the statutory sentence for murder in aid of racketeering under

 18 U.S.C. § 1959(a)(1), which had been amended to require life

 imprisonment or death in the period between Mui’s crime and

 sentencing.    Gov’t Suppl. Ltr. Br. 3, ECF No. 192; see Violent

 Crime Control and Law Enforcement Act of 1994, Pub. L. No. 103-

 322, § 60003(a)(12), 108 Stat. 1796, 1969-70 (codified at 18

 U.S.C. § 1959(a)(1)).        Notwithstanding this concession, it is

 not clear that the parties are reading the transcript correctly,

 as the colloquy reveals no indication that defense counsel’s
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 reference to a “mandatory” life sentence actually concerned the

 murder conviction.      The relevant passage reads as follows:

       Mr. Goldberg: Judge, as I understand the guidelines
       and the law, the sentence your Honor must impose here
       is the mandatory sentence of life.

       The Court: That is correct.

 Sentencing Tr. 3:16-19, ECF No. 194.          The statement that Judge

 Johnson was required to impose a life sentence was true as to

 Mui’s aggregate sentence under the then-mandatory Guidelines.

 See Presentence Investigation Report (“PSR”) 32, ECF No. 124

 (sealed).    On my reading, it is unclear why the parties seem to

 believe that Mr. Goldberg’s statement referred to a statutory

 requirement under Section 1959.

             Regardless, Mui’s argument has two other fatal flaws.

 First, this argument amounts to a challenge to a different count

 altogether (the Section 1959 conviction) from the one the Second

 Circuit has authorized him to challenge (the Section 924(c)

 conviction).     See Mui v. United States, No. 16-2117 (2d Cir.

 Apr. 14, 2020), ECF No. 39.       Whether it is styled as such, Mui’s

 motion asks me to reconsider the integrity of his murder

 sentence.    And Rule 60(b) motions that challenge a new

 “underlying sentence” are successive 2255 motions.              See United

 States v. Ferranti, No. 95-CR-119, 2022 WL 1239954, at *1-3

 (E.D.N.Y. Apr. 27, 2022); see also Harris v. United States, 367

 F.3d 74, 77 (2d Cir. 2004).
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             The Antiterrorism and Effective Death Penalty Act of

 1996 (“AEDPA”) requires second and successive Section 2255

 motions to be certified by a panel of the court of appeals.                28

 U.S.C. § 2255(h).      Having already brought two Section 2255

 motions, Mui requires authorization from the Second Circuit to

 bring another.     Id.   Absent that, I lack jurisdiction to revisit

 Mui’s other sentences.      Torres v. Senkowski, 316 F.3d 147, 153

 (2d Cir. 2003) (AEDPA’s authorization requirement “is

 jurisdictional and cannot be waived”). 4         In the meantime, his

 current motion is thus “beyond the scope of Rule 60(b).”

 Harris, 367 F.3d at 82.

             Mui’s argument that I misapplied the concurrent

 sentence doctrine has another, and perhaps even more

 dispositive, flaw: he does not challenge his second concurrent

 life sentence (for kidnapping, in violation of 18 U.S.C.

 § 1959(a)).    In my April 2024 Order, I exercised my discretion

 under the concurrent sentence doctrine in part because Mui did

 not challenge his life sentences for murder or kidnapping.

 April 2024 Order, at *3.       Even if I could now consider the

 merits of his murder sentence and were to rule in his favor on


       4 Mui did seek leave to file a third Section 2255 motion in October
 2023, though his motion says nothing about the Ex Post Facto Clause. Mui v.
 United States, No. 23-7256 (2d Cir. Oct. 4, 2023), ECF No. 2.1. In any case,
 the Second Circuit denied his motion because he had a pending motion before
 me. Mui v. United States, No. 23-7256 (2d Cir. Nov. 27, 2023), ECF No. 13.1.
 Mui then raised the possible Ex Post Facto Clause violation in the various
 motions to amend that I denied. See ECF No. 159; ECF No. 162; ECF No. 173;
 ECF No. 177.
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 the ex post facto contention, Mui would still have an

 unchallenged life sentence for kidnapping, and the concurrent

 sentence doctrine would still render relief unwarranted. 5

       2.    The Guidelines Post-Booker

             Mui’s second argument for reconsideration is that I

 failed to consider that he was sentenced when the Sentencing

 Guidelines were mandatory.       But the change in the Guidelines’

 status is not dispositive in this posture.             In Brown v. United

 States, the Second Circuit applied the concurrent sentence

 doctrine and declined to review the merits of a defendant’s

 Section 2255 motion because he was serving eight concurrent life

 sentences.    2023 WL 3001239, at *2 (2d Cir. Apr. 19, 2023).

 There, too, the concurrent sentences had been imposed when the

 Guidelines were mandatory (and the Guidelines’ Sentencing Table

 called for a sentence of “life” rather than prescribing a

 range).    See Brown v. United States, No. 03-CV-3909, 2010 WL

 2594640, at *13 (E.D.N.Y. June 23, 2010); Mem. in Opp. 5, United

 States v. Brown, No. 96-CR-149, ECF No. 509 (E.D.N.Y. Aug. 30,

 2024) (total offense level of 48); U.S.S.G. Ch. 5, Pt. A (1998)

 (prescribing life imprisonment for offense level of 43 or

 higher).



       5 The Guidelines range for Mui’s kidnapping conviction was life.  See
 PSR 20-21. The Guidelines were mandatory at the time. Booker, 543 U.S. at
 233-34. There was no downward departure motion at Mui’s sentencing. See
 generally Sentencing Tr.
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             Mui cites Gomez v. United States, in which the Second

 Circuit declined to apply the concurrent sentence doctrine when

 the defendant had not challenged concurrent life sentences.                87

 F.4th 100, 107 (2d Cir. 2023).        The Second Circuit could not

 conclude that the motion would have no effect on the defendant’s

 time in custody.       Id.   Mui argues that here, he “would be able

 to argue for a lesser sentence than life, if the firearm

 conviction was vacated.”        Reconsideration Mot. 2.

             But Gomez does not mandate proceeding to the merits of

 a Section 2255 motion whenever the district court would have

 discretion to impose a different sentence.             Post-Gomez, courts

 have continued to apply the concurrent sentence doctrine in

 cases in which sentences for unchallenged convictions were

 imposed when (a) the Guidelines were mandatory, not advisory,

 and (b) the Sentencing Table called for a determinate sentence

 of life, not a range (such as 360 months to life).              In Muyet v.

 United States, the Second Circuit affirmed the district court’s

 application of the concurrent sentence doctrine where the

 defendant challenged his Section 924(c) convictions, but not his

 mandatory life sentences.        2024 WL 2890390, at *1-2 (2d Cir.

 June 10, 2024); 6 Am. Judgment 10, United States v. Muyet, No. 95-

 CR-941, ECF No. 262 (S.D.N.Y. July 28, 1998) (total offense


       6 Though the district court’s decision pre-dated Gomez, the Second

 Circuit’s summary order post-dated Gomez by nearly seven months.
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 level of 52); U.S.S.G. Ch. 5, Pt. A (1997) (prescribing life

 imprisonment for that offense level).           At least one other

 district court has applied the concurrent sentence doctrine

 under similar conditions post-Gomez.          See Herrera v. United

 States, No. 20-CV-2957, 2024 WL 3088716, at *3 & n.2 (S.D.N.Y.

 June 20, 2024); Judgment 5, United States v. Herrera, No. 93-CR-

 203, ECF No. 91 (S.D.N.Y. Apr. 6, 1994) (total offense level of

 48); U.S.S.G. Ch. 5, Pt. A (1993) (prescribing life imprisonment

 therefor).

             Even if Mui succeeded on his Section 2255 motion,

 there is no reason to expect that his sentence would be

 different: as discussed in more detail below, the Section

 3553(a) factors still weigh against any reduction in sentence on

 the murder or kidnapping convictions.           See infra Section II.C.4.

                        Motion for Compassionate Release

 A.    Prior Compassionate Release Motions

             This is the second time in five years that Mui has

 moved for compassionate release.         Mui filed his first motion for

 compassionate release in 2020.        Mot. to Reduce Sentence (“2020

 Motion”), ECF No. 122.       At that time, Mui argued that his age

 and health issues, the conditions of his incarceration, and the

 COVID-19 pandemic constituted “extraordinary and compelling

 reasons” to reduce his sentence and order his immediate release

 into a period of home confinement.          Judge Johnson referred this
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 request to Magistrate Judge Vera M. Scanlon, who issued a report

 recommending denial.       Report & Recommendation (“R&R”), ECF No.

 136.       I adopted Judge Scanlon’s report in full on January 31,

 2023.       Mui, 2023 WL 1354785, at *3.

                Mui then filed a motion for compassionate release in

 October 2024.       See ECF No. 182.     After the government responded,

 Mui moved to withdraw his motion, ECF No. 186, and in February

 2025, he filed a new motion for compassionate release, ECF No.

 187 (“Mot.”).       He then filed another motion for compassionate

 release, ECF No. 190 (“Suppl. Mot.”), and a reply to the

 government’s opposition, ECF No. 195.            I consider his two

 compassionate release motions together.

 B.     Legal Standard

                A motion for compassionate release is governed by

 18 U.S.C. § 3582(c)(1)(A).       This section “permits a defendant to

 bring a motion for a reduction in sentence, including release

 from prison, in federal district court after satisfying a

 statutory exhaustion requirement.”           United States v. Fernandez,

 853 F. App’x 730, 731–32 (2d Cir. 2021). 7              A district court may

        reduce the term of imprisonment . . . after considering
        the factors set forth in section 3553(a) to the extent
        that they are applicable, if it finds that . . .
        extraordinary and compelling reasons warrant such a
        reduction.



        7The government does not dispute that Mui satisfied the exhaustion
 requirement.
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 18 U.S.C. § 3582(c)(1)(A)(i).         Mui bears the burden of

 establishing he is entitled to compassionate release.

 United States v. Butler, 970 F.2d 1017, 1026 (2d Cir.

 1992); accord United States v. Lopez, No. 16-CR-317, 2024

 WL 964593, at *2 (S.D.N.Y. Mar. 5, 2024).

 C.    Extraordinary and Compelling Reasons

             The Sentencing Guidelines govern what constitutes an

 “extraordinary and compelling reason.”           See United States v.

 Garcia, 758 F. Supp. 3d 47, 51 (E.D.N.Y. 2024) (collecting

 cases).    The Guidelines list six types of circumstances that may

 qualify (alone or in combination).          U.S.S.G. § 1B1.13(b).        These

 include medical circumstances, age, family circumstances,

 whether the defendant was abused, a catch-all provision for

 circumstances “similar in gravity” to those four circumstances,

 and certain changes in the law.         Id.   Mui’s motion focuses

 primarily on changes in law and changes in his age and medical

 condition, though he also references other circumstances like

 rehabilitation. See Mot. 5-6, 14; Suppl. Mot. 5-7, 21.

       1.    Changes in Law

             In discussing compassionate release, the Guidelines

 note that:

       If a defendant received an unusually long sentence
       and has served at least 10 years of the term of
       imprisonment, a change in the law (other than an
       amendment to the Guidelines Manual that has not
       been made retroactive) may be considered in
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       determining whether the defendant presents an
       extraordinary and compelling reason, but only where
       such change would produce a gross disparity between
       the sentence being served and the sentence likely
       to be imposed at the time the motion is filed, and
       after full consideration of the defendant’s
       individualized circumstances.

 U.S.S.G. § 1B1.13(b)(6).

             Mui invokes two changes in law, echoing his motion to

 vacate.    First, he argues that the government has conceded his

 murder sentence violates the Ex Post Facto Clause.               Mot. 7-8.

 Second, he argues that his sentence is no longer mandatory under

 Booker.    Id. at 8-9.

             Mui’s first argument runs headlong into the Second

 Circuit’s decision in United States v. Fernandez, 104 F.4th 420

 (2d Cir. 2024).        By invoking his ex post facto argument, Mui

 asks me to reconsider his sentence.           “But the validity of a

 conviction or sentence can be challenged only on direct appeal

 or collateral review,” not as an extraordinary and compelling

 reason for compassionate release.          Id. at 427.      Allowing such

 challenges would circumvent the review structure in AEDPA and

 other provisions.        Id. at 430.   Instead, Mui’s challenges “can

 (and therefore must) be brought in a section 2255 petition.”

 Id. at 433. 8




       8 This problem also infects Mui’s argument that his firearm offense
 violates the Supreme Court’s decision in Bailey v. United States, 516 U.S.
 137 (1995).
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             Mui’s second argument begins with the premise that

 Booker was a significant change in law.           Taking this as a given,

 Mui must still show a “gross disparity” between his original

 sentence and the sentence that would “likely . . . be imposed”

 now.    U.S.S.G. § 1B1.13(b)(6).      He cannot, because he was

 sentenced for murder under 18 U.S.C. § 1959(a)(1).              As Mui

 himself has described in the context of his ex post facto

 arguments, Section 1959(a)(1) now requires a mandatory life

 sentence or the death penalty.        See Mot. 7-8.       At the time of

 Mui’s crime, it did not.       18 U.S.C. § 1959(a)(1) (1988).           Mui

 thus would not have received a lower sentence for his murder

 conviction at any time between sentencing and today.               See United

 States v. Massaro, No. 92-CR-529, 2023 WL 2058398, at *2

 (S.D.N.Y. Feb. 16, 2023) (rejecting Booker argument that also

 involved changes to 18 U.S.C. § 1959(a)(1)).

        2.   Age and Medical Condition

             Extraordinary and compelling reasons exist when the

 defendant (a) is at least 65 years old; (b) “is experiencing a

 serious deterioration in physical or mental health because of

 the aging process”; and (c) has, as applicable here, served at

 least ten years of their sentence.          U.S.S.G. § 1B1.13(b)(2).

             Mui’s initial motion described complications from

 long-COVID and health issues such as high blood pressure.                Mot.
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 7.   His supplemental motion recounted the risks of living in a

 facility in the age of COVID-19.         Suppl. Mot. 21.

             Nothing in the record suggests that Mui is

 experiencing a serious deterioration in his health.              Indeed,

 none of the considerations he provides are materially different

 than the ones Judge Scanlon considered in her report and

 recommendation that I adopted just two years ago.              R&R 9-16; see

 also United States v. Acosta, No. 17-CR-487, 2025 WL 733250, at

 *2 (S.D.N.Y. Mar. 7, 2025) (denying compassionate release for

 defendant who asserted long-COVID symptoms).             According to the

 Bureau of Prisons’ records, Mui’s medical classification seems

 to have improved since his 2020 Motion.           Compare Mot. 24

 (describing Mui’s medical status as “Care 1 . . . Healthy of

 Simple Chronic Care”), with ECF 125-4 (describing Mui’s medical

 status as “Care 2 . . . Stable, Chronic Care”); see generally

 R&R 12 (describing these levels).

       3.    Mui’s Remaining Arguments

             Mui’s petition alludes to several additional factors.

 First, he describes his rehabilitation.           See Suppl. Mot. 5-6.

 But rehabilitation – while commendable – cannot alone be an

 extraordinary and compelling reason to grant compassionate

 release.    28 U.S.C. § 994(t); United States v. Fernandez, No.

 13-CR-20, 2024 WL 5220529, at *6 (S.D.N.Y. Dec. 26, 2024)

 (collecting cases).
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              Mui argues that there is an extraordinary and

 compelling difference in the sentence imposed on him and a co-

 conspirator who pled guilty.          Mot. 10-11. 9     But this is not a

 “change in the law,” U.S.S.G. § 1B1.13(b)(6), nor is it among

 the other enumerated bases for compassionate release.                And Mui

 has not made a compelling case that the disparity between his

 sentence and the co-conspirator’s was unwarranted.

              Mui’s remaining arguments ask me to consider the

 length of his sentence and the practice of other judges.                 See

 Mot. 6. 10   These arguments generally amount to “second-guessing

 of the sentence previously imposed” by the trial judge.                United

 States v. Keitt, 21 F.4th 67, 71 (2d Cir. 2021).

       4.     Section 3553(a) Factors

              Even where extraordinary and compelling reasons exist,

 courts must still ensure that compassionate release would be

 appropriate “after considering the factors set forth in” 18

 U.S.C. § 3553(a).      18 U.S.C. § 3582(c)(1)(A).          In adopting Judge

 Scanlon’s report, I noted that these factors “weigh against a

 sentence reduction given the severity of Mui’s crimes and the

 necessity of placing Mui on equal footing with similarly


       9 The government professes to be unaware of the circumstances of that
 co-conspirator’s conduct. See Gov’t Suppl. Ltr. Br. 6-7 n.5.
       10 Mui writes that (1) he “has served 29 years of his Life Sentence in

 federal prison”; (2) not granting him a compassionate release would create
 disparities with other similarly situated defendants; and (3) other district
 courts have granted compassionate release to defendants “who had murder
 offenses or conduct involving murder,” so Mui’s time-served is a “sufficient
 and appropriate” sentence. Mot. 6.
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 situated defendants.”       Mui, 2023 WL 1354785, at *3.          As Judge

 Scanlon recounted, Mui was effectively a career criminal when he

 ran the gambling operation in question: “an officer of the

 Chinese Freemasons, an organized crime organization.”                R&R 20.

 He ordered the brutal murder of a terrified victim in that

 capacity, and did so in the course of a kidnapping and a litany

 of other crimes.       Id.; PSR 11-12.     This was not, to say the

 least, a singular, momentary offense.            I continue to believe

 that the Section 3553 factors counsel against compassionate

 release at this point.

                                       Conclusion

             For the foregoing reasons, the motion to vacate and

 the motion for compassionate release are denied.

             The Clerk of Court is respectfully directed to mail a

 copy of this order and the docket sheet to Mui and to note the

 mailing on the docket.       The Court certifies that any appeal of

 this order would not be taken in good faith, and thus in forma
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 pauperis status is denied for the purposes of any appeal. See

 Coppedge v. United States, 369 U.S. 438, 444–45 (1962).



             SO ORDERED.


                                         /s/ Eric Komitee
                                       ERIC KOMITEE
                                       United States District Judge


 Dated:      May 6, 2025
             Brooklyn, New York
